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Attorney for Defendant
GEICO GENERAL INSURANCE COMPANY

UNITED STATES

I)ISTRICT COURT

DISTRICT OF NEVADA

MILLICENT WANJOHI,

Plaintiff,
vs.
GEICO GENERAL INSURANCE
COMPANY; DOE INDIVIDUALS I-X,
inclusive; and ROE CORPORATIONS I-X,

inclusive,

Defendants.

 

 

 

 

CASE NO.: 2117-CV-*

NOTICE OF REMOVAL

COMES NOW, Defendant, GEICO GENERAL INSURANCE COMPANY (“GEICO”),

and hereby files this Notice of Rernoval of the above~described action to the United States

District Court for the District of Nevada, from the Eighth Judicial District Court of the State of

Nevada, Where the action is now pending, as provided 28 U.S.C. § 1441, and states:

1. GEICO is the Defendant in the above entitled action.

2. The above-entitled action Was commenced in the Eighth Judicial District Court of

the State of Nevada and is now pending in that court. Process Was served on Defendant on

 

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November 3, 2017. A copy of the plaintiffs complaint setting forth the claim for relief upon
Which the action is based Was first received by the Defendant on or about November 4, 2017.

3. The United States District Court for the Eighth J udicial District of Nevada has
jurisdiction by reason of diversity of citizenship of the parties. Plaintiff, MILLICENT
WANJOHI, has represented that she is a resident of Nevada. GEICO is now, and at the time
the state action Was commenced incorporated in, and With its principal place of business in,
Maryland. No change of citizenship of parties has occurred since the commencement of the
action. No named Defendant is a citizen of the state Where the action Was brought.

4. The action is a civil action for breach of contract and unjust enrichment, related to
an alleged insurance policy With a $100,000.00 limit. Plaintiff has previously made a demand
for $100,000.00 and seeks in this action for general and special damages, in an amount in excess
of $15,000.00. The potential for punitive damages alone exceeds the monetary jurisdictional
amount of $75,000.00. See, Woodwara' v. Newcourt Commercial Financz'al Corz)oration, 60 F.
Supp. 2d 530, 532 (D.S.C. 1999).

5 . A copy of all process, pleadings, and orders served upon Defendant is filed With
this notice as EXhibit "A" pursuant to 28 U.S.C. § l446(a).

6. Defendant Will give Written notice of the filing of this notice as required by 28
U.S.C. § l446(d).

7. A copy of this notice Will be filed With the clerk of the Eighth Judicial District
Court as required by 28 U.S.C. § l446(d).

 

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WHEREFORE, Defendant GEICO hereby requests that this action proceed in this Court

as an action properly removed to it.
Dated this ZO of November, 2017.

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JAMES P. C. SILVESTRI, ESQ.
Nevada Bar No. 3603

WALTER F. FICK, ESQ.
Nevada Bar No. 14193

701 Bridger Avenue, Ste. 600
Las Vegas, NV 89101

Attorneys for Defendant

 

CERTIFICATE OF SERVICE

IHEREBY CERTIFY that a copy of the foregoing NOTICE OF REMOVAL Was
deposited in the United States l\/lails at Las Vegas, Nevada, postage fully prepaid, this§__\Q day

of November, 2017, a true and correct copy addressed to the following:

Bryan H. Blackwell, Esq.

RICHARD HARRIS LAW FIRM

801 South Fourth Street

Las Vegas, NV 89101
Brvan.Blackwell.@RichardHarrisLaW.com

Al‘torneyfor Plaz`ntijjf

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y employee of PYATT SLLVESTRI

 

 

 

